Filed 8/27/24 In re D.V. CA2/8
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION EIGHT

 In re D.V. et al., Persons Coming                            B329252
 Under the Juvenile Court Law.
                                                              Los Angeles County
 LOS ANGELES COUNTY                                           Super. Ct. No. 22CCJP04032A–C
 DEPARTMENT OF CHILDREN
 AND FAMILY SERVICES,
           Plaintiff and Respondent,
           v.
 VERONICA L.,
           Defendant and Appellant.

      APPEAL from a judgment of the Superior Court of Los
Angeles County. Pete R. Navarro, Juvenile Court Referee.
Dismissed.
      David M. Thompson, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Dawyn R. Harrison, County Counsel, Kim Nemoy,
Assistant County Counsel, and Kelly G. Emling, Deputy County
Counsel for Plaintiff and Respondent.
                     _______________________
      Veronica L. (Mother) challenges the sufficiency of the
evidence to support the juvenile court’s jurisdictional findings on
a Welfare and Institutions Code1 section 300 petition concerning
her three children. We dismiss the appeal as moot.
      FACTUAL AND PROCEDURAL BACKGROUND
       Mother and her three children, D.V., J.R., and D.R., lived
with the father of two of the children, two of Mother’s adult
daughters, and the partner and children of one of the adult
daughters. In July 2022, Mother’s adult son overdosed and died
at the home. Investigation revealed that one of the adult
daughters living in the home, Ashley L., was abusing fentanyl.
Fentanyl pills were found in the home within reach of the
children. Mother admitted knowing of her adult children’s drug
and alcohol abuse. On October 13, 2022, the Los Angeles County
Department of Children and Family Services (DCFS) filed a
petition alleging the three minor children were subject to juvenile
court jurisdiction under section 300, subdivision (b)(1).
       At the jurisdictional and dispositional hearing in May 2023,
Mother asked the court to dismiss the petition because Ashley no
longer lived at her house, so the children were no longer at risk of
harm. The juvenile court amended and sustained the petition,
finding fentanyl pills were accessible to the children in the home
and that Mother knew that her adult children were fentanyl
abusers but allowed them to live in the residence and have
unlimited access to the children, putting the children’s physical
health and safety at risk of serious harm. Pursuant to section
360, subdivision (b), the court did not declare the children


1     Undesignated statutory references are to the Welfare and
Institutions Code.




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dependents; it ordered DCFS supervision of the family. Mother
appeals.
                         DISCUSSION
       Mother argues insufficient evidence supported the court’s
May 2023 finding that the children were described by section 300,
subdivision (b)(1). However, in June 2023, approximately six
weeks after the court made the challenged finding, DCFS filed
two subsequent dependency petitions, one pursuant to section
360, subdivision (c) which alleged the previous disposition had
been ineffective in ameliorating the situation requiring child
welfare services, and the other a subsequent petition pursuant to
section 342 containing new jurisdictional allegations.2
       In August 2023, the court sustained four allegations in the
section 342 petition, sustained the section 360, subdivision (c)
petition, and declared the children dependents of the juvenile
court. Finding removal unnecessary to protect the children, the
court ordered family maintenance services. Subsequently, by
orders made in February and March 2024, the juvenile court
terminated dependency jurisdiction over the children.

2     We grant County Counsel’s request to take judicial notice of
the section 360, subdivision (c) petition, the section 342
supplemental petition as filed and as amended, and the juvenile
court’s minute orders dated June 23, 2023, August 23, 2023,
February 22, 2024, and March 6, 2024. (Evid. Code, §§ 452, 459,
subd. (a); In re M.B. (2022) 80 Cal.App.5th 617, 627
[“postjudgment evidence may, in appropriate cases, be considered
to determine whether an issue on appeal is moot”].) We take
judicial notice of Exhibit 2 only to the extent that it indicates
D.V. was briefly detained from Mother in June 2023; the
remainder of the exhibit is unnecessary for the resolution of the
appeal.




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       DCFS contends these subsequent events render the appeal
moot, and we agree. Even if the juvenile court erred in its
original jurisdictional finding, there would be no effective relief
for us to grant because additional jurisdictional allegations were
subsequently sustained, the children were placed with Mother
and/or both parents, and dependency jurisdiction has since been
terminated. (In re D.P. (2023) 14 Cal.5th 266, 276 [case is moot
when events render it impossible for a court, if deciding the case
in the appellant’s favor, to grant effective relief].) While we are
aware of our discretionary authority to consider the merits of
moot appeals, Mother has neither requested discretionary review
nor established good cause. We find no reason to exercise our
discretion here.
                            DISPOSITION
      The appeal is dismissed as moot.

      NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                           STRATTON, P. J.

We concur:




             WILEY, J.




             VIRAMONTES, J.




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